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 1   ALLEN H. SCHW ARTZ, SBN 108126
     Attorney at Law
 2   111 W. St. John Street, Suite 555
     San Jose, CA 95113
 3   Tel: (408) 298-9494
 4

 5
     Attorney for Defendant STEPHEN BROW N
 6

 7

 8
                        IN THE UNITED STATES DISTRICT COURT
 9
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                         SAN JOSE DIVISION
11

12
                                                                 *E-FILED - 9/20/06*
13
     UNITED STATES OF AMERICA,                       Case No. CR 05-00734-RMW
14
                            Plaintiff,
15
                                                    STIPULATION AND ORDER TO
16          v.                                       CONTINUE SENTENCING
17
     STEPHEN BROW N,
18
                    Defendant.
19
     _____________________________/
20
            IT IS HEREBY STIPULATED between the parties that defendant’s
21
     sentencing hearing now set for October 10, 2006, at 9:00 a.m., be vacated and
22
     reset to November 13, 2006, at 9:00 a.m. This will allow for needed additional
23
     time to prepare the Pre-sentence Report.
24
     It is so stipulated:
25
     Dated: September 14, 2006                                   /s/ Allen H. Schwartz
26                                                                 Allen H. Schwartz
                                                                 Attorney for Defendant
27

28   STIP AND ORDER TO CONTINUE SENTENCING                       CR 05-00734-RMW
           Case 5:05-cr-00734-RMW       Document 97   Filed 09/20/06   Page 2 of 3



 1   It is so stipulated:
 2   Dated:    September 14, 2006                        /s/ Mark L. Krotoski
                                                             Mark L. Krotoski
 3                                                    Assistant United States Attorney
 4
     It is so ordered:
 5
            9/20/06
     Dated:__________                                   /s/ Ronald M. Whyte
                                                       _______________________
 6                                                       Hon. Ronald M. Whyte
                                                       United States District Judge
 7

 8
     Copies to be served on:
 9
     Allen H. Schwartz
10   Attorney at Law
     111 W. St. John Street, Suite 555
11   San Jose, CA 95113
12
     Mark L. Krotoski
13   Assistant United States Attorney
     150 Almaden Blvd., Suite 900
14   San Jose, CA 95113
15
     Benjamin Flores
16   United States Probation Officer
     280 So. First Street, Suite 106
17   San Jose, CA 95113
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 1                          DECLARATION RE SIGNATORIES
 2         I, Allen H. Schwartz, hereby declare:
 3         1. I am the filer of the foregoing document entitled STIPULATION AND
 4   ORDER TO CONTINUE SENTENCING.
 5         2. I have concurrence of the filing of this document by receipt from the
 6   other signatory of his faxed signature to a copy of this document.
 7         I declare under penalty of perjury that the foregoing is true and correct and
 8   that this declaration is executed on September 14, 2006 at San Jose, California.
 9

10                                                        /s/ Allen H. Schwartz
                                                     Allen H. Schwartz, Declarant
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28   STIP AND ORDER TO CONTINUE SENTENCING                     CR 05-00734-RMW
